          Entered on Docket June 18, 2018
                                                    Below is the Order of the Court.


 1                                                  _______________________________
 2                                                  Marc Barreca
                                                    U.S. Bankruptcy Judge
 3                                                  (Dated as of Entered on Docket date above)


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                        IN THE UNITED STATES BANKRUPTCY COURT
11             IN AND FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
12   In Re:                                             In Chapter 7 Proceeding
13   WESTERN INDUSTRIAL, INC.,                          NO. 16-13353-MLB
14                                       Debtor.
                                                        ORDER GRANTING MOTION TO APPROVE
15                                                      SETTLEMENT OF CLAIM AGAINST MARE
                                                        ISLAND DRY DOCK, LLC AND APPROVE
16                                                      PAYMENT OF SPECIAL COUNSEL’S FEES
                                                        AND COSTS
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18
              THIS MATTER having come on regularly for hearing upon the Chapter 7 Trustee’s
19

20   Motion to Approve Settlement of Claim Against Mare Island Dry Dock, LLC and Approve

21   Payment of Special Counsel’s Fees and Costs (“Motion”) regarding settlement of a claim against
22   Mare Island Dry Dock, LLC (“MIDD”) pursuant to Fed. R. Bankr. P. 9019 and to approve
23
     payment of special counsel’s fees and costs to the Manning Construction Law, Inc. and Kimberly
24
     J. Manning of $15,000.00 based on a 30% contingency fee based on the settlement amount of
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     $50,000.00, and costs of $1,611.11, and the Court having reviewed the records and files herein,
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     ORDER - 1


     10304-273/TJD/813958

      Case 16-13353-MLB        Doc 452      Filed 06/18/18    Ent. 06/18/18 14:02:10             Pg. 1 of 2
 1   including said Motion and the exhibits thereto, finds that adequate and appropriate notice and an
 2   opportunity for hearing have been provided and that cause exists to grant the relief requested,
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     and having so found, it is hereby
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              ORDERED, ADJUDGED, AND DECREED as follows:
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              1.       The Chapter 7 Trustee’s Motion to Approve Settlement of Against Mare Island
 6

 7   Dry Dock, LLC and Approve Payment of Special Counsel’s Fees and Costs is hereby

 8   GRANTED and the Settlement Agreement attached to said Motion as Exhibit A is approved in

 9   its entirety; and
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              2.       Trustee is authorized to take any and all steps necessary to consummate the terms
11
     thereof, which generally provides for settlement of a claim against Mare Island Dry Dock, LLC
12
     (“MIDD”) for the sum of $50,000.00 and to pay therefrom special counsel’s fees of $15,000.00
13
     and costs of $1,611.11.
14

15                                             ///End of Order///

16   Presented by:

17   EISENHOWER CARLSON PLLC

18

19   By: /s/ Terrence J. Donahue
        Terrence J. Donahue, WSBA #15193
20      Attorneys for Chapter 7 Trustee
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21      Tacoma, WA 98402
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     ORDER - 2


     10304-273/TJD/813958

      Case 16-13353-MLB           Doc 452     Filed 06/18/18        Ent. 06/18/18 14:02:10   Pg. 2 of 2
